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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                                    Crim. No. 19-CR-00018 (ABJ)
 ROGER J. STONE, JR.,

                                 Defendant.


            GOVERNMENT’S OPPOSITION TO DEFENDANT’S RENEWED
               OBJECTIONS TO THE NOTICE OF RELATED CASE

       The United States of America, by and through Jessie Liu, United States Attorney for the

District of Columbia, respectfully submits this opposition to the defendant’s renewed objections

to the assignment and designation of this case as related to United States v. Netyksho, et al., 1:18-

cr-00215 (ABJ). Doc. 75. The defendant fails to provide any new facts justifying reconsideration

of the Court’s prior Order that this case was properly related to Netyksho under Local Criminal

Rule 57.12, and therefore the motion should be denied.

                                          STATEMENT

       On January 24, 2019, a grand jury in the District of Columbia returned a seven-count

indictment charging the defendant with Obstruction of Proceedings in violation of 18 U.S.C. §§

1505 and 2, False Statements in violation of 18 U.S.C. §§ 1001(a)(2) and 2, and Witness

Tampering in violation of 18 U.S.C. § 1512(b)(1). At the time of docketing the indictment, the

government designated the defendant’s case as related to Netyksho pursuant to Local Criminal

Rule 57.12(a)(1)(iii) as a prosecution against a different defendant that “arises from a

common . . . search warrant” and from “activities which are a part of the same alleged criminal act

or transaction.”
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       On February 8, 2019, the defendant filed an objection to the government’s notice of

designation, arguing that the government improperly related his case to Netyksho. Doc. 27. The

government responded to the defendant’s objections on February 15, 2019, explaining that his case

arose out of a common search warrant in Netyksho, and that both cases concern activities that are

part of the same alleged criminal event or transaction. Doc. 37, at 3-5. On February 15, 2019, the

Court entered a Minute Order stating that it would “take no action regarding the current assignment

of this case,” which the Court noted “is consistent with Local Criminal Rule 57.12.”

                                           ARGUMENT

       The defendant’s “renewed motion of objections to the notice of related case,” Doc. 75,

should be denied. The deadline for objections to the related case designation has passed, and in

any event the defendant has not offered new information that would meet the standard for

reconsideration of the Court’s finding that this case is properly related to United States v. Netyksho

under Local Criminal Rule 57.12(a)(1).

       Rule    57.12(a)(1)(iii)   provides      that   “[c]riminal   cases   are   deemed     related

when . . . prosecution against different defendants arises from a common…search warrant, or

activities which are part of the same alleged criminal event or transaction.” Rule 57.12(b)(1) states

that “[a]ny objection by the defendant” to the government’s designation of a related case “shall

be” filed “within 21 days after arraignment.”

       The window for litigating the relation of this case to Netyksho has closed. The defendant

filed his objection to the related-case designation within the 21-day period, Doc. 27, the

government responded, Doc. 37, and the Court denied the defendant’s objection by minute order.

Rule 57.12 contains no provision for reconsideration of an objection to a related case designation

based on developments after the 21-day window. And for good reason. The purpose of the rule



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for relating cases is to promote efficiency. See Clifford v. United States, 136 F.3d 144, 148 (D.C.

Cir. 1998). That purpose would be undermined if defendants were permitted to repeatedly ask the

Court to reassign criminal cases based on subsequent developments.

       In any event, the defendant’s arguments do not provide a basis for the Court to reconsider

its decision that this case is properly related to Netyksho. While the Federal Rules of Criminal

Procedure do not explicitly provide for motions for reconsideration of interlocutory orders, judges

in this District have applied the Federal Rules of Civil Procedure to such motions, granting

reconsideration if “justice requires.” See, e.g., United States v. Lieu, No. 17-CR-0050 (RC), 2018

WL 5045335, at *2 (D.D.C. Oct. 17, 2018) (citing United States v. Hassanshahi, 145 F. Supp. 3d

75, 80 (D.D.C. 2015)); United States v. Slough, 61 F. Supp. 3d 103, 107 (D.D.C. 2014).

       To determine whether “justice requires” reconsideration, judges in this District generally

consider whether the Court has “‘patently misunderstood a party, has made a decision outside the

adversarial issues presented to the Court by the parties, has made an error not out of reasoning but

out of apprehension, or where a controlling or significant change in the law or facts [has occurred]

since the submission of the issue to the Court.’” Lieu, 2018 WL 5045335, at *3 (quoting Singh v.

George Washington Univ., 383 F. Supp. 2d 99, 101 (D.D.C. 2005)); see also United States v.

Hemingway, 930 F. Supp. 2d 11, 12-13 (D.D.C. 2013); Slough, 61 F. Supp. 3d at 108. Ultimately,

“[t]he burden is on the moving party to show that reconsideration is appropriate and that harm or

injustice would result if reconsideration were denied.” Hemingway, 930 F. Supp. 2d at 13.

       The defendant argues that this case no longer relates to Netyksho because the Special

Counsel’s report to the Attorney General states that the Special Counsel’s investigation did not

establish that members of the Trump Campaign conspired or coordinated with the Russian

government in its election interference activities. The defendant’s argument misses the mark. The



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Special Counsel’s conclusions do not change the fact that this case and Netyksho arise from

common search warrants and are a part of the same alleged criminal event or transaction, which is

the applicable legal standard. See Local Criminal Rule 57.12(a)(1)(iii). Indeed, the defendant

does not does not offer any basis to reconsider the government’s relation of this case to Netyksho

based on a common search warrant, and his motion to reconsider should be denied on that basis

alone. See Local Cr. R. 57.12(a)(1)(iii) (stating that criminal cases are related when “prosecution

against different defendants arises from a common…search warrant, or activities which are a part

of the same alleged criminal event or transaction”) (emphasis added).

       Moreover, the Special Counsel’s report does not undermine the fact that this case and

Netyksho “arise from . . . activities which are a part of the same alleged criminal event or

transaction.” Id. As explained in the government’s response to the defendant’s initial objection,

the defendant’s false statements were made before a congressional committee investigating,

among other things, the criminal conduct alleged in Netyksho. Moreover, the defendant’s false

statements to the committee concerned matters discussed in the Netyksho indictment. The

defendant’s contention that this case should now be reassigned based on the Special Counsel’s

report is inconsistent with the plain text of the rule, which does not require that the overlapping

activities themselves be criminal or that defendants be charged with the related activities. See

United States v. Smith, Crim. No. 90-023501 (RCL), 1990 WL 91611, at *1 (D.D.C. Jun. 19, 1990)

(interpreting the predecessor to Local Rule 57.12 “as allowing a related case designation when the

prosecution ‘arises from’ activities which are part of the same criminal event or transaction,

whether or not the related activities are charged”).

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       The defendant fails to point to any new facts showing that his matter did not “arise[] from

a common . . . search warrant” or from “activities which are a part of the same alleged criminal act

or transaction” as in the Netyksho case. Accordingly, the defendant’s motion for reconsideration

should be denied. 1

                                                      Respectfully submitted,

                                                      JESSIE K. LIU
                                                      U.S. Attorney for the District of Columbia

                                                      By:    /s/
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 The defendant also fails to cite any harm or injustice that would result from a denial of his motion
for reconsideration. As noted in the government’s initial response to defendant’s objections to his
case designation, “a defendant has no vested right to have his case tried before any particular judge,
nor does he have a right to determine the manner in which his case is assigned to a judge.” United
States v. Keane, 375 F. Supp. 1201, 1204 (N.D. Ill. 1974).
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